           EXHIBIT A10




Case 3:23-md-03071   Document 776-17   Filed 02/09/24   Page 1 of 10 PageID #: 14291
            Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 1 of 9




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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

  SIMON AND SIMON, PC d/b/a CITY                    Case No.: 3:20-cv-03754-VC
  SMILES and VIP DENTAL SPAS,
  individually and on behalf of all others           [PROPOSED] STIPULATED ORDER
  similarly situated,                                REGARDING AMENDED CASE
                                Plaintiffs,          SCHEDULE AS MODIFIED
          v.

  ALIGN TECHNOLOGY, INC.,

                                 Defendant.




Case  3:23-md-03071
   3:20-cv-03754-VC
                          Document 776-17      Filed 02/09/24    Page 2 of 10 PageID #: 14292
              [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
           Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 2 of 9




         WHEREAS, on May 5, 2021, Plaintiffs Simon And Simon, PC d/b/a City Smiles and VIP

  Dental Spas (“Plaintiffs”) and Defendant Align Technology Inc. (“Defendant,” collectively with

  Plaintiffs, the “Parties”), having met and conferred, filed an Updated Joint Case Management

  Statement, Rule 26(f) Statement, and [Proposed] Order that included a Jointly Proposed

  Schedule as Attachment A (ECF Nos. 99 and 99-1, respectively);

         WHEREAS, on May 12, 2021, the Parties attended a case management conference with

  the Court at which the Court ordered the Parties to make certain changes to the Jointly Proposed

  Schedule, including adding case management conferences approximately every four (4) months

  (with joint case management statements due seven (7) days in advance), and combining all

  summary judgment and Daubert briefing into single documents when such documents are to be

  filed at the same time (with any motions proposing changes to the page limits to be submitted to

  the Court in advance of the filing deadlines for such combined briefs);

         NOW THEREFORE, the Parties, by and through their respective counsel, hereby

  stipulate and agree to the terms of this Amended Jointly Proposed Schedule as follows:




Case  3:23-md-03071
   13:20-cv-03754-VC
                          Document 776-17        Filed
                                                     1
                                                       02/09/24      Page 3 of 10 PageID #: 14293
              [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
             Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 3 of 9




                                   Amended Jointly Proposed Schedule

                   Proposed Date                                     Event

      5/5/2021                                Joint CMC Statement due

      5/12/2021                               Case Management Conference1
                                              Deadline to begin rolling production of documents
      7/25/2021                               in response to Requests for Production served on or
                                              before January 15, 20212
                                              Deadline to complete production of structured data
      8/24/2021                               in response to Requests for Production served on or
                                              before January 15, 2021
      9/15/2021                               Joint CMC Statement due

      9/22/2021                               Case Management Conference

      1/12/2022                               Joint CMC Statement due

      1/19/2022                               Case Management Conference
                                              Deadline to complete production of documents in
      2/13/2022
                                              response to Requests for Production
      3/11/2022                               Deadline to complete initial ADR
      5/11/2022                               Joint CMC Statement due
      5/18/2022                               Case Management Conference
      7/15/2022                               Deadline to complete fact discovery
                                              Deadline to serve expert reports on all issues on
      8/12/2022
                                              which a party has the burden of proof
      9/14/2022                               Joint CMC Statement due

      9/21/2022                               Case Management Conference

      9/23/2022                               Deadline to serve opposing expert reports

  1
   Producing parties are to produce organizational charts (if any) and proposed custodians, non-
  custodial document sources, and search methodology within 21 days of the Case Management
  Conference.
  2
   Privilege logs shall be served within 45 days of each production of documents from which
  documents were withheld based on any claim or privilege or work-product protection.



Case  3:23-md-03071
   3:20-cv-03754-VC
                           Document 776-17        Filed
                                                      2
                                                        02/09/24     Page 4 of 10 PageID #: 14294
                  [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
              Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 4 of 9




      11/4/2022                              Deadline to serve rebuttal expert reports

      12/5/2022                              Deadline to complete expert discovery
                                             Deadline to file motion for class certification and
      1/10/2023
                                             any Daubert motion related to class certification
      1/18/2023                              Joint CMC Statement due

      1/25/2023                              Case Management Conference
                                             Deadline to file opposition to motion for class
      2/14/2023                              certification and opposition to any Daubert motion
                                             related to class certification
                                             Deadline to file reply in support of Daubert motion
      3/14/2023
                                             related to class certification
                                             Deadline to file reply in support of motion for class
      3/21/2023
                                             certification
  4/13/2023                                  Hearing on motion for class certification
  5/11/2023                                  Case Management Conference
  4 weeks after decision on Class
                                             Close of residual post-certification discovery period
  Certification
                                             Deadline to file motion for summary judgment and
      6/13/2023
                                             any Daubert motions3
                                             Deadline to file opposition to motion for summary
      7/25/2023
                                             judgment and opposition to any Daubert motions4
                                             Deadline to file reply in support of motion for
      8/22/2023                              summary judgment and in support of any Daubert
                                             motions5
                                             Hearing on motion(s) for summary judgment and
                                             Daubert motions
      (At the Court’s convenience)
                                             Final pretrial conference


  3
    Any party filing a motion for summary judgment and a Daubert motion must file them as a
  combined brief. Any motion as to the page limits for such briefing will be taken up in advance of
  this deadline.
  4
    Any party filing a brief in opposition to a motion for summary judgment and a brief in
  opposition to a Daubert motion must file them as a combined brief. Any motion as to the page
  limits for such briefing will be taken up in advance of this deadline.
  5
    Any party filing a reply brief in support of a motion for summary judgment and a reply brief in
  support of a Daubert motion must file them as a combined brief. Any motion as to the page
  limits for such briefing will be taken up in advance of this deadline.



Case  3:23-md-03071
   3:20-cv-03754-VC
                            Document 776-17      Filed
                                                     3
                                                       02/09/24      Page 5 of 10 PageID #: 14295
                  [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
          Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 5 of 9




   11/20/2023                          Trial Begins




        IT IS SO STIPULATED, through Counsel of Record.


                                            Respectfully Submitted,
   Dated: May 13, 2021
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Case  3:23-md-03071
   3:20-cv-03754-VC
                         Document 776-17   Filed
                                               4
                                                 02/09/24    Page 6 of 10 PageID #: 14296
            [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
          Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 6 of 9




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Case  3:23-md-03071
   3:20-cv-03754-VC
                      Document 776-17   Filed
                                            5
                                              02/09/24    Page 7 of 10 PageID #: 14297
           [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
          Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 7 of 9




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Case  3:23-md-03071
   3:20-cv-03754-VC
                         Document 776-17   Filed
                                               6
                                                 02/09/24    Page 8 of 10 PageID #: 14298
            [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
         Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 8 of 9




Case 3:23-md-03071   Document 776-17   Filed 02/09/24   Page 9 of 10 PageID #: 14299
         Case 3:20-cv-03754-VC Document 106 Filed 05/18/21 Page 9 of 9




                                   FILER’S ATTESTATION

       I, Joseph R. Saveri, am the ECF user whose identification and password are being used to

file this [Proposed] Stipulated Order Regarding Amended Case Schedule. In compliance with

L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this Joint Case Management

Conference Statement has been obtained from each of the other signatories.



May 13, 2021                                         /s/ Joseph R. Saveri




 3:20-cv-03754-VC                           8
            [PROPOSED] STIPULATED ORDER REGARDING AMENDED CASE SCHEDULE
Case 3:23-md-03071         Document 776-17 Filed 02/09/24              Page 10 of 10 PageID #:
                                         14300
